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 5
     Attorney for Defendant,
 6   JOSEPH NOLAN
 7

 8                    IN THE UNITED STATES DISTRICT COURT
 9                  EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
     UNITED STATES OF AMERICA,            ) Case No.: 1:10-CR-00131 AWI
11                                        )
                 Plaintiff,               )
12                                        )
           vs.                            ) AMENDED STIPULATION AND
13                                        ) ORDER TO SUBORDINATE
     JOSEPH NOLAN,                        ) PROPERTY BOND
14                                        )
                 Defendant.               )
15                                        ) Hon. Anthony W. Ishii
16

17         IT IS HEREBY STIPULATED between the Defendant JOSEPH
18   NOLAN, by and through his attorney, Anthony P. Capozzi, and
19   Plaintiff, by and through Assistant United States Attorney,
20   Karen Escobar, that the property located at 5827 Allott
21   Avenue, Van Nuys, California 91401, having been posted as a
22   bond for Defendant, under Deed of Trust # 20100411443, be
23   released in order for Gary Inouye to refinance the property.
24   Mr. Inouye intends to refinance to lower the interest rate.
25   Mr. Inouye will not receive any cash funds for the refinance.
26   ///
27

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                                           - 1 -
                               AMENDED STIPULATION AND ORDER
                                CASE NO.: 1:10-CR-00131 AWI
         Case 1:10-cr-00131-LJO Document 81 Filed 10/14/11 Page 2 of 3


 1       IT IS FURTHER STIPULATED that the Deed of Trust #
 2   20100411443 be put back on the property upon the conclusion
 3   of the refinance transaction.
 4                                          Respectfully submitted,
 5   DATED: October 12, 2011
 6                                          /s/Anthony P. Capozzi
 7                                          Anthony P. Capozzi
                                            Attorney for,
 8                                          JOSEPH NOLAN
 9
     DATED: October 12, 2011
10
                                            /s/Karen Escobar
11
                                            Karen Escobar
12                                          Attorney for,
                                            UNITED STATES OF AMERICA
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                             AMENDED STIPULATION AND ORDER
                              CASE NO.: 1:10-CR-00131 AWI
                           Case 1:10-cr-00131-LJO Document 81 Filed 10/14/11 Page 3 of 3


 1                                    IN THE UNITED STATES DISTRICT COURT
 2                                  EASTERN DISTRICT OF CALIFORNIA, FRESNO
 3
     UNITED STATES OF AMERICA,                            ) Case No.: 1:10-CR-00131 AWI
 4                                                        )
                                 Plaintiff,               )
 5                                                        )
                           vs.                            ) ORDER
 6                                                        )
     JOSEPH NOLAN,                                        )
 7                                                        )
                                 Defendant.               )
 8                                                        ) Hon. Anthony W. Ishii
 9

10                         Upon review of the Amended Stipulation to Subordinate the
11   Property Bond, and good cause having been shown:
12                         IT IS HEREBY ORDERED that the property bond on 5827 Allott
13   Avenue, Van Nuys, California 91401, posted on behalf of Joseph
14   Nolan, under Deed of Trust # 20100411443, shall be released.
15                         It is FURTHER ORDERED that the Deed of Trust # 20100411443
16   be put back on said property upon the completion of the
17   refinancing transaction.
18
     IT IS SO ORDERED.
19

20   Dated: October 14, 2011
                                                  CHIEF UNITED STATES DISTRICT JUDGE
21
     DEAC_Signature-END:




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                                               AMENDED STIPULATION AND ORDER
                                                CASE NO.: 1:10-CR-00131 AWI
